              Case 2:06-cr-00149-RSM                        Document 134   Filed 07/19/06   Page 1 of 3



1                                                                                 JUDGE MARTINEZ
2

3

4

5

6

7                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF WASHINGTON
8                                                   AT SEATTLE
9    UNITED STATES OF AMERICA,              )
                                            )                               NO. CR06-149RSM
10                    Plaintiff,            )
                                            )
11              v.                          )
                                            )
12   JOSE L. GALINDO-ZURITA, et. al.,       )                               ORDER CONTINUING
                                            )                               PRETRIAL MOTIONS DEADLINE
13                    Defendants.           )                               AND TRIAL DATE
     _______________________________________)
14

15             On behalf of all parties, the United States filed an Unopposed Motion for Order
16   continuing the pretrial motions due date and the trial date, currently set for July 13 and
17   August 28, 2006, respectively.
18             This Court’s decision is based on the facts stated in the Unopposed Motion and
19   apparent from the record, including the following specific findings:
20             1.         This case is complex and involves two related indictments and nineteen
21   charged conspirators. It stems from a long-term investigation involving multiple agencies,
22   and included the simultaneous execution of over thirty search warrants in two states on the
23   date of arrest. The charges carry the potential for mandatory 10-year,
24   20-year, or even mandatory life sentences for some defendants, depending on criminal
25   history.
26             2.       This case involves a large volume of discovery that counsel must review prior to
27   trial. Among this discovery is several thousand conversations intercepted over three Court-
28   authorized Title III wire intercepts (wiretaps). Many of these calls are not in English, and
     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 1                                                                        UNITED STATES ATTORNEY
                                                                                               700 STEWART STREET, SUITE 5220
     United States v. Galindo-Zurita, et al., CR06-149RSM
                                                                                              SEATTLE, WASHINGTON 98101-1271
                                                                                                       (206) 553-7970
              Case 2:06-cr-00149-RSM                        Document 134   Filed 07/19/06   Page 2 of 3



1    must be translated into English for counsel and the Court. The translation effort has been
2    complicated by the fact that some calls are in an indigenous language of Southern Mexico,
3    Mixteco Bajo, for which English-speaking translators are very difficult to find. The
4    transcription/translation process in this case is expected to take several months. A
5    continuance of the motions and trial dates will ensure that counsel has sufficient time to
6    review these telephone calls prior to trial.
7              3.         Defendants’ counsel need additional time to prepare for motions, plea
8    negotiations, and trial, in order to provide defendants with adequate, effective, and continued
9    representation. Counsel assert that proceeding with the current motions and trial dates would
10   result in a miscarriage of justice. Counsel agree that an approximate three-month
11   continuance is appropriate and necessary in light of the factors listed above.
12             4.         Defendants’ counsel anticipate that each of their clients will issue a written
13   knowing, voluntary, and intelligent waiver of his/her right to a speedy trial through
14   November, 2006.
15             5.         In light of the interest of the public in ensuring the accused adequate, effective,
16   and continued representation by counsel presently assigned, this Court finds that the ends of
17   justice served by granting a continuance outweigh the best interest of the public and
18   defendants in a speedy trial. This Court further concludes that the above findings and bases
19   for continuing the trial comport with 18 U.S.C. § 3161(h) and the United States Supreme
20   Court's recent decision in Zedner v. United States, 126 S. Ct. 1976 (2006).
21             Accordingly, for the reasons listed above and those apparent from the record, the
22   Unopposed Motion for Continuance is HEREBY GRANTED.
23             Trial is reset for November 13, 2006 at 9:00 a.m.
24             Pretrial Motions are due on September 7, 2006.
25             The Court further finds that time from the filing of the stipulated motion through the
26   new trial date shall be excluded from computation under 18 U.S.C. §§ 3161(h)(8)(A),
27   3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii) because the failure to grant the requested continuance
28   would be likely to result in a miscarriage of justice, and because the case is so complex due
     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 2                                                                        UNITED STATES ATTORNEY
                                                                                               700 STEWART STREET, SUITE 5220
     United States v. Galindo-Zurita, et al., CR06-149RSM
                                                                                              SEATTLE, WASHINGTON 98101-1271
                                                                                                       (206) 553-7970
              Case 2:06-cr-00149-RSM                        Document 134   Filed 07/19/06   Page 3 of 3



1    to the number of defendants, the nature of the prosecution, and the existence of novel
2    questions of fact or law, that it is unreasonable to expect adequate preparation for pretrial
3    proceedings or for the trial itself within the time limits established by the Speedy Trial Act.
4              Dated this __18__ day of July, 2006.
5

6
                                                                      A
                                                                      RICARDO S. MARTINEZ
                                                                      UNITED STATES DISTRICT JUDGE
7    Presented by:
8    s/ Sarah Y. Vogel
     SARAH Y. VOGEL
9    Assistant United States Attorney
10   United States Attorney's Office
     700 Stewart Street, Suite 5220
11   Seattle, Washington 98101-1271
     Telephone: (206) 553-7970
12   Facsimile: (206) 553-4440
13   E-mail: Sarah.Vogel@usdoj.gov

14   Approved on July 10-11, 2006 by:
15
     s/                                                               s/
16   PETER MAZZONE                                                    MICHAEL C. MARTIN
     for Jose L. Galindo-Zurita                                       for Karen M. Creech
17
     s/                                                               s/
18   HOWARD PHILLIPS                                                  BRUCE DAVID ERICKSON
     for Marcela Rodriguez-Zurita                                     for Rhonda L. Schweitzer
19
     s/                                                               s/
20   WALTER GEORGE PALMER                                             ALLEN R. BENTLEY
     for Jade Medina-Parra                                            for Jeffrey D. French
21
     s/                                                               s/
22   JEFFREY C. GRANT                                                 MARK DAVID MESTEL
     for Juana Garcia-Rodriguez                                       for Mary F. Handy
23
                                                                      s/
24                                                                    PETER K. MAIR
                                                                      for Dale L. Trisco
25

26

27

28

     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 3                                                                        UNITED STATES ATTORNEY
                                                                                               700 STEWART STREET, SUITE 5220
     United States v. Galindo-Zurita, et al., CR06-149RSM
                                                                                              SEATTLE, WASHINGTON 98101-1271
                                                                                                       (206) 553-7970
